Case 2:05-cr-20230-.]PI\/| Document 16 Filed 08/10/05 Page 1 of 2 Page|D 16

 

 

 

 

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IN THE UNITED STATES DISTRICT COURT i I"` ‘ ' " D'C'
FOR THE WESTERN DISTRICT OF TENNESSEE 05
WESTERN DIVISION AUG ' 0 m mt 55
UNITED STATES OF AMERICA t't{l"~:} :_]; t t l {
V. 05-20230-Ml
ODIE SMITH
ORDER ON ARRAIGNMENT
This cause came to be heard on ge ;:?é ¢é § §QQS , the United States Attorney
for this district appeared on behalf of the g mment, d the defendant appeared in person and With
counsel:
NAME ' who is Retained/Appointed.
__"_'_'__'l\

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.

Wendant, (not_lgi.n.g-madebond-)-€o eing a stMMg a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U. S. Marshal.

UNITED STATES MAGISTRATE JUDGE

CHARGES: 18:922;

U. S. Attorney assigned to Case: K. Earley

Age: _g?

Thls document entered on the docket sheet ln compliance
with F\u!s 55 and/or 32{b) FRCrP on ' az “Of)

 

     
 

  

UNITED sTATE DRISTIC COUR - WETERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20230 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Katrina U. Earley

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Honorable J on McCalla
US DISTRICT COURT

